     Case: 1:20-cv-01589 Document #: 50 Filed: 07/10/20 Page 1 of 2 PageID #:1933




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

SUPERHYPE TAPES, LTD.,
                                                            CASE NO.: 1:20-CV-01589
        PLAINTIFF,

V.
                                                            JUDGE ELAINE E. BUCKLO
AANSTORE, ET AL.,

                                                            MAGISTRATE JUDGE SUNIL R. HARJANI
        DEFENDANTS.


            MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT
             AGAINST THE DEFENDANTS IDENTIFIED IN SCHEDULE A

        Plaintiff, Superhype Tapes, Ltd., (“Superhype” or “Plaintiff”), hereby moves this

Honorable Court for entry of Default and Default Judgment against the Defendants identified in

the Amended Schedule A, attached hereto, with the exception of certain Defendants.1

        Plaintiff files herewith a Memorandum of Law in support.


       Dated:      July 10, 2020                               Respectfully submitted,

                                                               /s/ Ann Marie Sullivan
                                                               Ann Marie Sullivan
                                                               Alison Carter
                                                               Raymond Lang
                                                               AM Sullivan Law, LLC
                                                               1440 W. Taylor St., Suite 515
                                                               Chicago, Illinois 60607
                                                               Telephone: 224-258-9378
                                                               E-mail: ams@amsullivanlaw.com

                                                               ATTORNEYS FOR PLAINTIFF


1
  Superhype’s Motion for Entry of Default and Default Judgment does not apply to the following Defendants:
nameever, uncle_ding, SHOWHOME Store, CHARMHOME Store, baiyang520, henghenghahashenghuo,
liangxiaodai, lilonghua, wangpeijin8888, Hanchao store, Chicken Wings Store, CanvasPainting Store, thanya_kt249.
YUUUKO Store, orkojewelry_istanbul, Your Love Store, xiangguilin, tawe-potc, and lovelyshoponline, as well as
previously dismissed defendants.
    Case: 1:20-cv-01589 Document #: 50 Filed: 07/10/20 Page 2 of 2 PageID #:1934




                                 CERTIFICATE OF SERVICE

       I hereby certify that I will: electronically file the foregoing with the Clerk of the Court

using the CM/ECF system, and electronically publish the documents on a website to which the

Defendants have been directed pursuant to the Service of Process executed in this case; which

was sent to the e-mail addresses identified or provided for Defendants by third-parties, and

which includes a link to said website.



      Dated:     July 10, 2020                         Respectfully submitted,

                                                       /s/ Alison Carter
                                                       Ann Marie Sullivan
                                                       Alison Carter
                                                       Raymond Lang
                                                       AM Sullivan Law, LLC
                                                       1440 W. Taylor St., Suite 515
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                                                       ATTORNEYS FOR PLAINTIFF
